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12-13949-smb   Doc 1   Filed 09/19/12 Entered 09/19/12 14:10:15   Main Document
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                                                                                        12-13949-smb      Doc 1     Filed 09/19/12 Entered 09/19/12 14:10:15               Main Document
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                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                          FORM 6. SCHEDULES

                                                                                          Summary of Schedules
                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                          Schedule A - Real Property
                                                                                          Schedule B - Personal Property
                                                                                          Schedule C - Property Claimed as Exempt
                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                          Schedule H - Codebtors
                                                                                          Schedule I - Current Income of Individual Debtor(s)
                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                          Unsworn Declaration under Penalty of Perjury
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                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                          the case number should be left blank

                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                          transactions, each claim should be scheduled separately.

                                                                                          Review the specific instructions for each schedule before completing the schedule.
                                                                                                     12-13949-smb
                                                                                        B6A (Official Form 6A) (12/07)
                                                                                                                               Doc 1        Filed 09/19/12 Entered 09/19/12 14:10:15                                             Main Document
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                                                                                        In re    Lovely T. Meah                                                                        Case No.
                                                                                                                   Debtor                                                                                                     (If known)

                                                                                                                                        SCHEDULE A - REAL PROPERTY
                                                                                           Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                        tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                        the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                        “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                        “Description and Location of Property.”

                                                                                          Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                        Unexpired Leases.

                                                                                            If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                        claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                           If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                        Property Claimed as Exempt.




                                                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE
                                                                                                                                                                                                                         OF DEBTOR’S
                                                                                                      DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN       AMOUNT OF
                                                                                                             OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                       DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                       SECURED CLAIM
                                                                                                                                                                                                                        OR EXEMPTION



                                                                                         Condomiumn (Primary Residence)                                Fee Simple                                                           113,000.00            None
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                                                                                         89 Metropliion Oval, Unit 11F
                                                                                         Bronx, NY 10462


                                                                                         Single Family House (Investment)                              Tenancy in Common                                                    437,000.00       390,059.90
                                                                                         *** 50% Stake ***
                                                                                         1021 Viriginia Avenue
                                                                                         Bronx, NY 10472




                                                                                                                                                                                      Total
                                                                                                                                                                                                                            550,000.00

                                                                                                                                                                                      (Report also on Summary of Schedules.)
                                                                                                       12-13949-smb
                                                                                        B6B (Official Form 6B) (12/07)
                                                                                                                                            Doc 1   Filed 09/19/12 Entered 09/19/12 14:10:15                    Main Document
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                                                                                        In re     Lovely T. Meah                                                                     Case No.
                                                                                                                          Debtor                                                                             (If known)

                                                                                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                             Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                        place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                        identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                        community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                        individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                            Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                        Unexpired Leases.

                                                                                              If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                        If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                        "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                N                                                                                            IN PROPERTY,
                                                                                                    TYPE OF PROPERTY                            O                 DESCRIPTION AND LOCATION                                                     WITHOUT
                                                                                                                                                N                       OF PROPERTY                                                        DEDUCTING ANY
                                                                                                                                                E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                            OR EXEMPTION


                                                                                          1. Cash on hand.                                          Cash                                                                                           200.00
                                                                                                                                                    Debtor's Person.

                                                                                          2. Checking, savings or other financial                   Checking Account                                                                             1,310.00
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                                                                                          accounts, certificates of deposit, or shares in
                                                                                          banks, savings and loan, thrift, building and             Sovereign Bank
                                                                                          loan, and homestead associations, or credit
                                                                                          unions, brokerage houses, or cooperatives.
                                                                                                                                                    Acc #: 1831102196

                                                                                          3. Security deposits with public utilities,           X
                                                                                          telephone companies, landlords, and others.

                                                                                          4. Household goods and furnishings, including             Furniture                                                                                    1,250.00
                                                                                          audio, video, and computer equipment.
                                                                                                                                                    Debtor's Home.

                                                                                          5. Books. Pictures and other art objects,             X
                                                                                          antiques, stamp, coin, record, tape, compact disc,
                                                                                          and other collections or collectibles.

                                                                                          6. Wearing apparel.                                       Clothing                                                                                       500.00
                                                                                                                                                    Debtor's Residence.


                                                                                          7. Furs and jewelry.                                      Jewlery                                                                                        250.00
                                                                                                                                                    Debtor's Residence.

                                                                                          8. Firearms and sports, photographic, and             X
                                                                                          other hobby equipment.

                                                                                          9. Interests in insurance policies. Name              X
                                                                                          insurance company of each policy and itemize
                                                                                          surrender or refund value of each.
                                                                                        B6B (Official12-13949-smb          Doc
                                                                                                      Form 6B) (12/07) -- Cont.                  1   Filed 09/19/12 Entered 09/19/12 14:10:15   Main Document
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                                                                                        In re     Lovely T. Meah                                                                  Case No.
                                                                                                                          Debtor                                                             (If known)

                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                         CURRENT VALUE OF




                                                                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                                                                         DEBTOR’S INTEREST
                                                                                                                                                 N                                                                          IN PROPERTY,
                                                                                                    TYPE OF PROPERTY                             O              DESCRIPTION AND LOCATION                                      WITHOUT
                                                                                                                                                 N                    OF PROPERTY                                         DEDUCTING ANY
                                                                                                                                                 E                                                                        SECURED CLAIM
                                                                                                                                                                                                                           OR EXEMPTION


                                                                                          10. Annuities. Itemize and name each issuer.           X
                                                                                          11. Interests in an education IRA as defined in        X
                                                                                          26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                          tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                          Give particulars. (File separately the record(s) of
                                                                                          any such interest(s). 11 U.S.C. § 521(c).)

                                                                                          12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                          pension or profit sharing plans. Give particulars.

                                                                                          13. Stock and interests in incorporated and            X
                                                                                          unincorporated businesses. Itemize.

                                                                                          14. Interests in partnerships or joint ventures.       X
                                                                                          Itemize.

                                                                                          15. Government and corporate bonds and other           X
                                                                                          negotiable and non-negotiable instruments.
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                                                                                          16. Accounts receivable.                               X
                                                                                          17. Alimony, maintenance, support, and                 X
                                                                                          property settlement to which the debtor is or
                                                                                          may be entitled. Give particulars.

                                                                                          18. Other liquidated debts owing debtor                X
                                                                                          including tax refunds. Give particulars.

                                                                                          19. Equitable or future interests, life estates, and   X
                                                                                          rights or powers exercisable for the benefit of
                                                                                          the debtor other than those listed in Schedule A -
                                                                                          Real Property.

                                                                                          20. Contingent and noncontingent interests in          X
                                                                                          estate or a decedent, death benefit plan, life
                                                                                          insurance policy, or trust.

                                                                                          21. Other contingent and unliquidated claims of        X
                                                                                          every nature, including tax refunds,
                                                                                          counterclaims of the debtor, and rights of setoff
                                                                                          claims. Give estimated value of each.

                                                                                          22. Patents, copyrights, and other intellectual        X
                                                                                          property. Give particulars.

                                                                                          23. Licenses, franchises, and other general            X
                                                                                          intangibles. Give particulars.

                                                                                          24. Customer lists or other compilations               X
                                                                                          containing personally identifiable information
                                                                                          (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                          the debtor by individuals in connection with
                                                                                          obtaining a product or service from the debtor
                                                                                          primarily for personal, family, or household
                                                                                          purposes.
                                                                                                  12-13949-smb
                                                                                        B6B (Official                      Doc
                                                                                                      Form 6B) (12/07) -- Cont.              1   Filed 09/19/12 Entered 09/19/12 14:10:15                    Main Document
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                                                                                        In re     Lovely T. Meah                                                                Case No.
                                                                                                                          Debtor                                                                         (If known)

                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                       (Continuation Sheet)




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                             N                                                                                               IN PROPERTY,
                                                                                                    TYPE OF PROPERTY                         O              DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                             N                    OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                             E                                                                                             SECURED CLAIM
                                                                                                                                                                                                                                            OR EXEMPTION


                                                                                          25. Automobiles, trucks, trailers, and other       X
                                                                                          vehicles and accessories.

                                                                                          26. Boats, motors, and accessories.                X
                                                                                          27. Aircraft and accessories.                      X
                                                                                          28. Office equipment, furnishings, and supplies.   X
                                                                                          29. Machinery, fixtures, equipment, and            X
                                                                                          supplies used in business.

                                                                                          30. Inventory.                                     X
                                                                                          31. Animals.                                       X
                                                                                          32. Crops - growing or harvested. Give             X
                                                                                          particulars.

                                                                                          33. Farming equipment and implements.              X
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                                                                                          34. Farm supplies, chemicals, and feed.            X
                                                                                          35. Other personal property of any kind not        X
                                                                                          already listed. Itemize.




                                                                                                                                                                0      continuation sheets attached        Total                          $      3,510.00
                                                                                                                                                                       (Include amounts from any continuation
                                                                                                                                                                         sheets attached. Report total also on
                                                                                                                                                                               Summary of Schedules.)
                                                                                                       12-13949-smb         Doc 1       Filed 09/19/12 Entered 09/19/12 14:10:15                            Main Document
                                                                                          B6C (Official Form 6C) (04/10)                             Pg 9 of 44

                                                                                        In re     Lovely T. Meah                                                                 Case No.
                                                                                                                  Debtor                                                                                (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                          Debtor claims the exemptions to which debtor is entitled under:
                                                                                          (Check one box)

                                                                                                11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                $146,450*.
                                                                                                11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                   CURRENT
                                                                                                                                                       SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                     DESCRIPTION OF PROPERTY                         PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                        EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                           Condomiumn (Primary Residence)                  NY CPLR § 5206(a)                                  113,000.00                  113,000.00

                                                                                           Cash                                            NY CPLR § 5205(a)(9)                                    200.00                     200.00

                                                                                           Checking Account                                NY CPLR § 5205(d)(2)                                  1,310.00                   1,310.00

                                                                                           Furniture                                       NY CPLR § 5205(a)(5)                                  1,250.00                   1,250.00

                                                                                           Clothing                                        NY CPLR § 5205(a)(5)                                    500.00                     500.00

                                                                                           Jewlery                                         NY CPLR § 5205(a)                                       250.00                     250.00
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                                                                                                                                           Total exemptions claimed:                          116,510.00




                                                                                          *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                 12-13949-smb              Doc 1         Filed 09/19/12 Entered 09/19/12 14:10:15                                                                                Main Document
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                                                                                        B6D (Official Form 6D) (12/07)

                                                                                                 Lovely T. Meah
                                                                                        In re _______________________________________________,                                                                        Case No. _________________________________
                                                                                                                      Debtor                                                                                                                                         (If known)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                  State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                        by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                        useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                        such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                   List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                        address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                        §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                        include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                        husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                        "Husband, Wife, Joint, or Community."
                                                                                                  If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                        labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                        one of these three columns.)
                                                                                                  Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                        labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                        Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                        the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                                AMOUNT
                                                                                                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                             DATE CLAIM WAS INCURRED,                                                              OF
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                                                    ORCOMMUNITY




                                                                                                   CREDITOR’S NAME,
                                                                                                    MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                              CLAIM            UNSECURED
                                                                                                                                                                                 DESCRIPTION AND                                                                WITHOUT            PORTION,
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                                                                                                  INCLUDING ZIP CODE,
                                                                                                 AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                              DEDUCTING            IF ANY
                                                                                                   (See Instructions Above.)                                                      SUBJECT TO LIEN                                                               VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL


                                                                                        ACCOUNT NO. 771511221                                                            Incurred: 02/2006
                                                                                                                                                                         Lien: Second Mortgage
                                                                                        CITIBANK, N.A.                                                                   Security: Single Family House (Investment)
                                                                                        c/o Forester & Garbus LLP                                                        Bronx County Supreme Court;                                                             44,600.00             0.00
                                                                                                                                                                         Index #: 305628-2010
                                                                                        60 Vanderbilt Motor Parkway
                                                                                        Commack, NY 11725
                                                                                                                                                                          VALUE $                    437,000.00
                                                                                        ACCOUNT NO. 2003897948                                                           Incurred: 12/2006
                                                                                                                                                                         Lien: First Mortgage
                                                                                        CITIMORTGAGE INC                                                                 Security: Single Family House (Investment)
                                                                                        PO BOX 9438                                                                                                                                                             390,015.00             0.00
                                                                                        GAITHERSBURG, MD 20898

                                                                                                                                                                          VALUE $                    437,000.00
                                                                                        ACCOUNT NO. 0142101166                                                           Incurred: 5/1 - 7/1
                                                                                                                                                                         Lien: Condo Charges
                                                                                        Parkchester South Condominium
                                                                                                                                                                         Security: Condomimium
                                                                                        c/o Parkchester Preservation Mgmt                                                                                                                                         2,083.52             0.00
                                                                                        LLC
                                                                                        200 East Tremont Avenue
                                                                                        Bronx, NY 10462-5796                                                                                         113,000.00
                                                                                                                                                                          VALUE $

                                                                                           0
                                                                                         _______continuation sheets attached                                                                                       Subtotal     $ 436,698.52                                 $         0.00
                                                                                                                                                                                                           (Total of this page)
                                                                                                                                                                                                                       Total    $ 436,698.52                                 $         0.00
                                                                                                                                                                                                        (Use only on last page)
                                                                                                                                                                                                                                                    (Report also on       (If applicable, report
                                                                                                                                                                                                                                                    Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                          Summary of Certain
                                                                                                                                                                                                                                                                          Liabilities and Related
                                                                                                                                                                                                                                                                          Data.)
                                                                                                  12-13949-smb              Doc 1        Filed 09/19/12 Entered 09/19/12 14:10:15                                      Main Document
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                                                                                        B6E (Official Form 6E) (04/10)


                                                                                                   Lovely T. Meah
                                                                                           In re________________________________________________________________,                             Case No.______________________________
                                                                                                                   Debtor                                                                                   (if known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                 A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                          unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                          address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                          property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                          the type of priority.

                                                                                                 The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                          the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                          entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                          both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                          Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                          in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                          more than one of these three columns.)

                                                                                                Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                          Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                          amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                          primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                          amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
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                                                                                          with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                          Data.



                                                                                              Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                         TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                               Domestic Support Obligations

                                                                                              Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                        or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                        11 U.S.C. § 507(a)(1).


                                                                                               Extensions of credit in an involuntary case

                                                                                              Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                        appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                               Wages, salaries, and commissions

                                                                                                 Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                         independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                         cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                               Contributions to employee benefit plans

                                                                                                    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                            cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                  *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                  12-13949-smb              Doc 1        Filed 09/19/12 Entered 09/19/12 14:10:15                              Main Document
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                                                                                        B6E (Official Form 6E) (04/10) - Cont.


                                                                                                      Lovely T. Meah
                                                                                              In re________________________________________________________________,                      Case No.______________________________
                                                                                                                      Debtor                                                                            (if known)




                                                                                               Certain farmers and fishermen
                                                                                             Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                               Deposits by individuals
                                                                                             Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                         that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                               Taxes and Certain Other Debts Owed to Governmental Units

                                                                                             Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                               Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                            Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                         Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
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                                                                                         U.S.C. § 507 (a)(9).



                                                                                               Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                              Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                        alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                         * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                         adjustment.




                                                                                                                                                   0 continuation sheets attached
                                                                                                                                                  ____
                                                                                                   12-13949-smb                  Doc 1           Filed 09/19/12 Entered 09/19/12 14:10:15                                                           Main Document
                                                                                                                                                              Pg 13 of 44
                                                                                        B6F (Official Form 6F) (12/07)

                                                                                                 Lovely T. Meah
                                                                                         In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                        Debtor                                                                                                                              (If known)

                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                         against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                         of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                         1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                         appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                         community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                         "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                         Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                         Related Data.
                                                                                                  Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                        HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                          ORCOMMUNITY




                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                             CODEBTOR




                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                            DISPUTED
                                                                                                    CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                                     MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
                                                                                                   INCLUDING ZIP CODE,                                                                                                                                                      CLAIM
                                                                                                  AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                    (See instructions above.)

                                                                                        ACCOUNT NO.                                                                            Incurred: 02/2011
                                                                                                                                                                               Bronx County Supreme Court
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                                                                                        Forster & Garbus LLP
                                                                                                                                                                               Index #: 305628-2010
                                                                                        60 Vanderbilt Motor Parkway                                                                                                                                                        Notice Only
                                                                                        Commack, NY 11725



                                                                                        ACCOUNT NO.         5491098610078734                                                   Incurred: 06/2005
                                                                                                                                                                               Consideration: Credit card debt
                                                                                        HSBC BANK
                                                                                        PO BOX 5253                                                                                                                                                                              12,062.00
                                                                                        CAROL STREAM, IL 60197



                                                                                        ACCOUNT NO.         7824149601332483                                                   Incurred: 06/2005
                                                                                                                                                                               Consideration: Credit card debt
                                                                                        HSBC BANK
                                                                                        PO BOX 5253                                                                                                                                                                              11,188.00
                                                                                        CAROL STREAM, IL 60197



                                                                                        ACCOUNT NO.         4104458630220                                                      Incurred: 11/2003
                                                                                                                                                                               Consideration: Credit card debt
                                                                                        MCYDSNB
                                                                                        9111 DUKE BLVD                                                                                                                                                                            3,975.00
                                                                                        MASON, OH 45040




                                                                                            _______continuation sheets attached                         0                                                                     Subtotal                                 $         27,225.00
                                                                                                                                                                                                            Total                                                      $         27,225.00
                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                         (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                               Summary of Certain Liabilities and Related Data.)
                                                                                                    12-13949-smb             Doc 1       Filed 09/19/12 Entered 09/19/12 14:10:15                              Main Document
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                                                                                                Lovely T. Meah
                                                                                        In re                                                                              Case No.
                                                                                                                  Debtor                                                                              (if known)

                                                                                                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                    Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                         State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                         names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                         contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                         guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                           DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                   OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                        In re   Lovely T. Meah                                                            Case No.
                                                                                                                 Debtor                                                                              (if known)


                                                                                                                                    SCHEDULE H - CODEBTORS
                                                                                            Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                        debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                        property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                        Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                        name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                        commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                        commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                        parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                        Fed. Bankr. P. 1007(m).
                                                                                            Check this box if debtor has no codebtors.



                                                                                                      NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                        B6I (Official Form 6I) (12/07)


                                                                                                     Lovely T. Meah
                                                                                        In re                                                                                       Case
                                                                                                               Debtor                                                                                  (if known)
                                                                                                               SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                        The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                        filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                        calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                         Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                         Status:   Widow                 RELATIONSHIP(S): son, daughter                                                    AGE(S): 10, 12
                                                                                         Employment:                             DEBTOR                                                                 SPOUSE
                                                                                         Occupation                       Cafeteria Lady -Part Time
                                                                                         Name of Employer                 City Of New York
                                                                                         How long employed                3 years
                                                                                         Address of Employer              1 Centre Street, Room 200N                                                      N.A.
                                                                                                                          New York, NY 1007

                                                                                        INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                        1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                         1,108.00
                                                                                                                                                                                                   $ _____________                  N.A.
                                                                                                                                                                                                                          $ _____________
                                                                                              (Prorate if not paid monthly.)
                                                                                        2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                   $ _____________                  N.A.
                                                                                                                                                                                                                          $ _____________

                                                                                        3. SUBTOTAL                                                                                                      1,108.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                        4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                           144.87
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                                a.   Payroll taxes and social security
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                                                                                                                                                                                                             0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                                b.   Insurance
                                                                                                c.   Union Dues                                                                                             36.22
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                                d.                    414H & 55/25 Plan
                                                                                                     Other (Specify:___________________________________________________________)                            53.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________

                                                                                        5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 234.09
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________

                                                                                        6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                               873.91
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________

                                                                                        7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                           (Attach detailed statement)
                                                                                        8. Income from real property                                                                                         0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                        9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                        10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                             0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                           debtor’s use or that of dependents listed above.
                                                                                        11. Social security or other government assistance
                                                                                                                                                                                                             0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                           ( Specify)
                                                                                        12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                        13. Other monthly incomeEstranged Husband Support                                                                1,650.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                            (Specify)                                                                                                        0.00
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                        14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                         1,650.00          $ _____________
                                                                                                                                                                                                                                    N.A.
                                                                                        15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 2,523.91
                                                                                                                                                                                                    $ _____________                 N.A.
                                                                                                                                                                                                                           $ _____________

                                                                                        16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                       2,523.91
                                                                                            from line 15)
                                                                                                                                                                               (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                               on Statistical Summary of Certain Liabilities and Related Data)

                                                                                        17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                 None
                                                                                                   12-13949-smb
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                                                                                         In re Lovely T. Meah                                                                      Case No.
                                                                                                             Debtor                                                                                  (if known)

                                                                                                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                          filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                          calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                labeled “Spouse.”


                                                                                        1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                        0.00
                                                                                                   a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                   b. Is property insurance included?                 Yes ________ No ________
                                                                                        2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                       90.00
                                                                                                       b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                                       c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                      120.00
                                                                                                                 Internet/TV/Phone
                                                                                                       d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                      120.00
                                                                                        3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                      700.00
                                                                                        5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                      450.00
                                                                                        6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                      125.00
                                                                                        7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                      104.00
                                                                                        9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                      100.00
                                                                                        10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        11.Insurance (not deducted from wages or included in home mortgage payments)
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                                                                                                   a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                                   b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                                   c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                                   d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                                   e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                        (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                   a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                        0.00
                                                                                                   b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                                   c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                        0.00
                                                                                        17. Other                Condo Maintence                                                                                             $______________
                                                                                                                                                                                                                                      716.76
                                                                                        18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                    2,525.76
                                                                                        if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                        19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                  None


                                                                                        20. STATEMENT OF MONTHLY NET INCOME
                                                                                                a. Average monthly income from Line 15 of Schedule I                                                                             2,523.91
                                                                                                                                                                                                                          $ ______________
                                                                                                b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                 2,525.76
                                                                                                c. Monthly net income (a. minus b.)                                                                                                 -1.85
                                                                                                                                                                                                                          $ ______________
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                                                                                              B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                   United States Bankruptcy Court
                                                                                                                                             Southern District of New York
                                                                                                          Lovely T. Meah
                                                                                             In re                                                                                        Case No.
                                                                                                                                              Debtor
                                                                                                                                                                                          Chapter        7

                                                                                                                                             SUMMARY OF SCHEDULES
                                                                                        Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                        I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                        claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                        Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                   AMOUNTS SCHEDULED
                                                                                                                                       ATTACHED
                                                                                          NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                          A – Real Property
                                                                                                                                       YES                     1            $    550,000.00

                                                                                          B – Personal Property
                                                                                                                                       YES                     3            $      3,510.00
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                                                                                          C – Property Claimed
                                                                                              as exempt                                YES                     1

                                                                                          D – Creditors Holding
                                                                                             Secured Claims                            YES                     1                                  $     436,698.52

                                                                                          E - Creditors Holding Unsecured
                                                                                              Priority Claims                          YES                     2                                  $           0.00
                                                                                             (Total of Claims on Schedule E)
                                                                                          F - Creditors Holding Unsecured
                                                                                              Nonpriority Claims                       YES                     1                                  $      27,225.00

                                                                                          G - Executory Contracts and
                                                                                              Unexpired Leases                         YES                     1

                                                                                          H - Codebtors
                                                                                                                                       YES                     1

                                                                                          I - Current Income of
                                                                                              Individual Debtor(s)                     YES                     1                                                        $     2,523.91

                                                                                          J - Current Expenditures of Individual
                                                                                              Debtors(s)                               YES                     1                                                        $     2,525.76


                                                                                                                               TOTAL                           13           $    553,510.00       $     463,923.52
                                                                                             12-13949-smb
                                                                                          Official                  Doc
                                                                                                   Form 6 - Statistical   1 Filed
                                                                                                                        Summary    09/19/12
                                                                                                                                (12/07)                        Entered 09/19/12 14:10:15            Main Document
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                                                                                                                              United States Bankruptcy Court
                                                                                                                                             Southern District of New York

                                                                                                     In re       Lovely T. Meah                                                      Case No.
                                                                                                                                               Debtor
                                                                                                                                                                                     Chapter       7

                                                                                        STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                             If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                        §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                        information here.

                                                                                        This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                        Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                           Type of Liability                                                         Amount

                                                                                           Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                              0.00
                                                                                           Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                           Schedule E)
                                                                                                                                                                              0.00
                                                                                           Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                           Schedule E) (whether disputed or undisputed)                                       0.00
                                                                                           Student Loan Obligations (from Schedule F)                                $        0.00
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                                                                                           Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                           Obligations Not Reported on Schedule E                                             0.00
                                                                                           Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                           (from Schedule F)                                                                  0.00

                                                                                                                                                            TOTAL    $        0.00


                                                                                          State the Following:
                                                                                           Average Income (from Schedule I, Line 16)                                 $    2,523.91
                                                                                           Average Expenses (from Schedule J, Line 18)                               $    2,525.76
                                                                                           Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                           22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                          2,758.00



                                                                                          State the Following:
                                                                                           1. Total from Schedule D, “UNSECURED PORTION, IF                                          $          0.00
                                                                                           ANY” column

                                                                                           2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                           PRIORITY” column.
                                                                                                                                                                     $        0.00

                                                                                           3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                         $
                                                                                           PRIORITY, IF ANY” column                                                                             0.00

                                                                                           4. Total from Schedule F                                                                  $    27,225.00
                                                                                           5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $    27,225.00
                                                                                                        12-13949-smb
                                                                                              B6 (Official Form 6 - Declaration)Doc  1
                                                                                                                                (12/07)                                 Filed 09/19/12 Entered 09/19/12 14:10:15                                                                 Main Document
                                                                                                                                                                                     Pg 20 of 44
                                                                                                        Lovely T. Meah
                                                                                              In re                                                                                                                                        Case No.
                                                                                                                                     Debtor                                                                                                                                   (If known)

                                                                                                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                  15
                                                                                                         I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                              are true and correct to the best of my knowledge, information, and belief.



                                                                                               Date                                                                                                                 Signature:          /s/ Lovely T. Meah
                                                                                                                                                                                                                                                                       Debtor


                                                                                               Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                              (Joint Debtor, if any)

                                                                                                                                                                                                                           [If joint case, both spouses must sign.]
                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                         compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                         110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                         by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                         accepting any fee from the debtor, as required by that section.


                                                                                         Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                         of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
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                                                                                          who signs this document.




                                                                                          Address

                                                                                          X
                                                                                                               Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                        Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                        If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                        A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                        18 U.S.C. § 156.
                                                                                        -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                             DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                              I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                        or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                        in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                        shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                        Date                                                                                                                 Signature:


                                                                                                                                                                                                                              [Print or type name of individual signing on behalf of debtor.]
                                                                                                                         [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                              12-13949-smb                Doc 1 Filed 09/19/12 Entered 09/19/12 14:10:15                                    Main Document
                                                                                           B7 (Official Form 7) (04/10)
                                                                                                                            UNITED STATES    PgBANKRUPTCY
                                                                                                                                               21 of 44       COURT
                                                                                                                                            Southern District of New York

                                                                                        In Re Lovely T. Meah                                                                                 Case No.
                                                                                                                                                                                                              (if known)


                                                                                                                                   STATEMENT OF FINANCIAL AFFAIRS

                                                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                              the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                              information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                              filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                              provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                              indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                              or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                              R. Bankr. P. 1007(m).

                                                                                                        Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                              must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                              additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                              case number (if known), and the number of the question.

                                                                                                                                                           DEFINITIONS

                                                                                                         "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                              individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                              the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                              the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                              employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                              in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                                                         "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                              their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                              percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                              such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                         1. Income from employment or operation of business

                                                                                                         State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                             None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                         two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                         the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                         of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                         under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                         spouses are separated and a joint petition is not filed.)

                                                                                                                 AMOUNT                                                SOURCE

                                                                                                 2012           10,500.00      *** Estimated as of 9/14/12 ***
                                                                                                                               City of New York
                                                                                                 2011           13.305.53      *** Per 2011 W-2 ***
                                                                                                                               City of New York
                                                                                                 2010            10724.31      *** Per 2010 W-2 ***
                                                                                                                               City of New York
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                                                                                                   2.   Income other than from employment or operation of business

                                                                                        None              State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                   operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                   Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                   the spouses are separated and a joint petition is not filed.)

                                                                                                    AMOUNT                                                                SOURCE



                                                                                                   3. Payments to creditors
                                                                                        None
                                                                                                   Complete a. or b., as appropriate, and c.
                                                                                                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                   of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                   commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                   transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                   a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                   nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                   must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                   separated and a joint petition is not filed.)


                                                                                        NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                                                                                        PAYMENTS                              PAID                   OWING
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                                                                                        None
                                                                                                   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                   made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                   property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual,
                                                                                                   indicate with an asterisk (*)any payments that were made to a creditor on account of a domestic support
                                                                                                   obligation or as part of an alternativerepayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                   credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                   other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                   and a joint petition is not filed.)
                                                                                        *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                        NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                         AND RELATIONSHIP TO DEBTOR                                     PAYMENTS                              PAID                   OWING
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                                                                                        None
                                                                                                c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                separated and a joint petition is not filed.)


                                                                                        NAME AND ADDRESS OF CREDITOR                            DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                         AND RELATIONSHIP TO DEBTOR                             PAYMENTS                                              OWING


                                                                                                4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                        None    a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                spouses are separated and a joint petition is not filed.)


                                                                                         CAPTION OF SUIT               NATURE OF PROCEEDING                        COURT OR                              STATUS OR
                                                                                        AND CASE NUMBER                                                       AGENCY AND LOCATION                        DISPOSITION

                                                                                        CitiBank, N.A. v.            Debt Collection on 2nd mortgage             NYS Supreme Court                   Pending
                                                                                        Lovely Meah                                                              Bronx County

                                                                                        Index #: 305628-2010
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                                                                                        None    b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                           NAME AND ADDRESS OF                                     DATE OF                                    DESCRIPTION AND
                                                                                         PERSON FOR WHOSE BENEFIT                                  SEIZURE                                   VALUE OF PROPERTY
                                                                                           PROPERTY WAS SEIZED


                                                                                                5.   Repossessions, foreclosures and returns

                                                                                        None           List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                joint petition is not filed.)


                                                                                            NAME AND                                DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                           ADDRESS OF                                FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                        CREDITOR OR SELLER                          TRANSFER OR RETURN
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                                                                                                 6. Assignments and Receiverships

                                                                                        None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                                 preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                 any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                 and a joint petition is not filed.)


                                                                                                NAME AND                                  DATE OF ASSIGNMENT                                TERMS OF
                                                                                                 ADDRESS                                                                                   ASSIGNMENT
                                                                                               OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                        None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                 one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                 chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                 is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                NAME AND                         NAME AND LOCATION                          DATE OF               DESCRIPTION AND
                                                                                                 ADDRESS                         OF COURT CASE TITLE                         ORDER               VALUE OF PROPERTY
                                                                                               OF CUSTODIAN                           & NUMBER



                                                                                                 7.   Gifts

                                                                                        None           List all gifts or charitable contributions made within one year immediately preceding the commencement of
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                                                                                                 this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                 family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                 under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                 joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                               NAME AND                           RELATIONSHIP                        DATE OF                 DESCRIPTION AND
                                                                                              ADDRESS OF                        TO DEBTOR, IF ANY                       GIFT                   VALUE OF GIFT
                                                                                        PERSON OR ORGANIZATION


                                                                                                 8.   Losses

                                                                                        None            List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                 commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                 spouses are separated and a joint petition is not filed.)


                                                                                           DESCRIPTION                          DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                              DATE OF
                                                                                           AND VALUE                               WAS COVERED IN WHOLE OR IN PART BY                                    LOSS
                                                                                           OF PROPERTY                                 INSURANCE, GIVE PARTICULARS
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                                                                                                  9.   Payments related to debt counseling or bankruptcy

                                                                                        None              List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                  attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                  petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                   NAME AND ADDRESS                         DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                                       OF PAYEE                             NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                                           OTHER THAN DEBTOR                              VALUE OF PROPERTY

                                                                                        SALVATORE J. LIGA, ESQ.                      06/28/12                                       $2,250.00
                                                                                        The Liga Law Group, P.C.
                                                                                        520 White Plains Road, Suite 500
                                                                                        Tarrytown, NY 10591

                                                                                                  10. Other transfers

                                                                                        None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                  affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                  commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                  either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                  is not filed.)


                                                                                          NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                              RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
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                                                                                                                                                                                               VALUE RECEIVED


                                                                                                  b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                  case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                        None

                                                                                               NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                           TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                             VALUE OF PROPERTY
                                                                                                                                                                                            OR DEBTOR'S INTEREST
                                                                                                                                                                                                IN PROPERTY
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                                                                                                  11. Closed financial accounts

                                                                                        None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                  which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                  this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                  shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                  houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                  information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                  filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                 NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                     AMOUNT AND
                                                                                                  ADDRESS                            DIGITS OF ACCOUNT NUMBER,                                      DATE OF SALE
                                                                                               OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE                                      OR CLOSING

                                                                                          HSBC                                    Checking Account                                        August 2012
                                                                                          1499 West Avenue                        ACC: 598676736
                                                                                          Bronx, NY 10462                         Closing Balance: $300.00


                                                                                                  12. Safe deposit boxes

                                                                                        None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                  valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                  under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                  joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                    NAME AND                       NAMES AND ADDRESSES OF                 DESCRIPTION OF              DATE OF
                                                                                                 ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                  CONTENTS                TRANSFER OR
                                                                                               OR OTHER DEPOSITORY                     OR DEPOSITORY                                              SURRENDER, IF ANY

                                                                                        HSBC                                   Debtor- Exclusively                         Legal
                                                                                        1499 West Avenue                                                                   Documents
                                                                                        Bronx, NY 10462

                                                                                        Sovereign Bank                         Debtor (Exclusively)                        Legal
                                                                                        1416 East Avenue                                                                   Documents
                                                                                        Bronx, NY 10462


                                                                                                  13. Setoffs

                                                                                        None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                  days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                  include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                  are separated and a joint petition is not filed.)


                                                                                               NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                             OF                                     OF
                                                                                                                                                           SETOFF                                 SETOFF
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                                                                                                14. Property held for another person

                                                                                        None         List all property owned by another person that the debtor holds or controls.


                                                                                                  NAME AND                              DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                               ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                15. Prior address of debtor
                                                                                        None
                                                                                                       If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                If a joint petition is filed, report also any separate address of either spouse.


                                                                                               ADDRESS                                        NAME USED                                  DATES OF OCCUPANCY



                                                                                                16. Spouses and Former Spouses
                                                                                        None
                                                                                                   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                            NAME
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                                                                                                17. Environmental Sites

                                                                                                For the purpose of this question, the following definitions apply:

                                                                                                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                wastes, or material.

                                                                                                          "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                          not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                          "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                          substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                        None
                                                                                                a.       List the name and address of every site for which the debtor has received notice in writing by a
                                                                                                governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                SITE NAME                       NAME AND ADDRESS                        DATE OF                 ENVIRONMENTAL
                                                                                               AND ADDRESS                    OF GOVERNMENTAL UNIT                       NOTICE                      LAW
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                                                                                                b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                        None

                                                                                                SITE NAME                       NAME AND ADDRESS                          DATE OF                 ENVIRONMENTAL
                                                                                               AND ADDRESS                    OF GOVERNMENTAL UNIT                         NOTICE                      LAW


                                                                                                c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                        None    that is or was a party to the proceeding, and the docket number.


                                                                                                 NAME AND ADDRESS                               DOCKET NUMBER                             STATUS OR DISPOSITION
                                                                                               OF GOVERNMENTAL UNIT


                                                                                                18. Nature, location and name of business

                                                                                        None    a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                within the six years immediately preceding the commencement of this case.

                                                                                                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                of the voting or equity securities, within the six years immediately preceding the commencement of this case.
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                                                                                                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                of this case.

                                                                                         NAME           LAST FOUR DIGITS OF                 ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                        SOCIAL-SECURITY OR                                                               ENDING DATES
                                                                                                         OTHER INDIVIDUAL
                                                                                                          TAXPAYER-I.D. NO.
                                                                                                        (ITIN)/ COMPLETE EIN


                                                                                                b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                                                                                                in 11 U.S.C. § 101.
                                                                                        None

                                                                                                NAME                                                                             ADDRESS




                                                                                                            [Questions 19 - 25 are not applicable to this case]
                                                                                                                                 *    *     *   *   *   *
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                                                                                                     [If completed by an individual or individual and spouse]

                                                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                     attachments thereto and that they are true and correct.
                                                                                                                                                                                                    /s/ Lovely T. Meah
                                                                                        Date                                                                            Signature
                                                                                                                                                                        of Debtor                   LOVELY T. MEAH




                                                                                                                                                                0 continuation sheets attached
                                                                                                                                                              _____


                                                                                                            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                               DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                            I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                        compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                        (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                        preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                        debtor, as required in that section.
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                                                                                        Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                        If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                        partner who signs this document.




                                                                                        Address

                                                                                        X
                                                                                        Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                        Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                        not an individual:

                                                                                        If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                        A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                        or imprisonment or both. 18 U.S.C. §156.
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                                                                                        B8 (Official Form 8) (12/08)

                                                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                                                                                           Southern District of New York
                                                                                                Lovely T. Meah
                                                                                        In re                                                                 ,         Case No.
                                                                                                                       Debtor                                                             Chapter 7



                                                                                                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                         PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                         secured by property of the estate. Attach additional pages if necessary.)


                                                                                           Property No. 1
                                                                                          Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                           CITIMORTGAGE INC                                                          Single Family House (Investment)
                                                                                           PO BOX 9438                                                               *** 50% Stake ***
                                                                                           GAITHERSBURG, MD 20898

                                                                                           Property will be (check one):
                                                                                                     Surrendered                                   Retained

                                                                                            If retaining the property, I intend to (check at least one):
                                                                                                     Redeem the property
                                                                                                     Reaffirm the debt
                                                                                                     Other. Explain _______________________________________________(for example, avoid lien
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                                                                                           using 11 U.S.C. §522(f)).

                                                                                           Property is (check one):
                                                                                                      Claimed as exempt                                           Not claimed as exempt



                                                                                           Property No. 2 (if necessary)
                                                                                          Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                           CITIMORTGAGE INC                                                          Single Family House (Investment)
                                                                                           PO BOX 9438                                                               *** 50% Stake ***
                                                                                           GAITHERSBURG, MD 20898

                                                                                           Property will be (check one):
                                                                                                     Surrendered                                   Retained

                                                                                            If retaining the property, I intend to (check at least one):
                                                                                                     Redeem the property
                                                                                                     Reaffirm the debt
                                                                                                     Other. Explain _______________________________________________(for example, avoid lien
                                                                                           using 11 U.S.C. §522(f)).

                                                                                           Property is (check one):
                                                                                                      Claimed as exempt                                           Not claimed as exempt
                                                                                                   12-13949-smb               Doc 1     Filed 09/19/12 Entered 09/19/12 14:10:15             Main Document
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                                                                                            PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                            Each unexpired lease. Attach additional pages if necessary.)


                                                                                              Property No. 1           NO Leased Property
                                                                                             Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                 to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                    YES              NO


                                                                                              Property No. 2 (if necessary)
                                                                                             Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                 to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                    YES              NO


                                                                                              Property No. 3 (if necessary)
                                                                                             Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                 to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                    YES              NO

                                                                                              0
                                                                                             ______ continuation sheets attached (if any)

                                                                                            I declare under penalty of perjury that the above indicates my intention as to any property of my
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                                                                                            Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                            Date:_____________________________                          /s/ Lovely T. Meah
                                                                                                                                                     Signature of Debtor




                                                                                                                                                     Signature of Joint Debtor
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                                                                                        B 201B (Form 201B) (12/09)
                                                                                                                              United States Bankruptcy Court
                                                                                                                                       Southern District of New York



                                                                                        In re   Lovely T. Meah                                                                       Case No.
                                                                                                                  Debtor                                                                                    (If known)



                                                                                                                CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                    UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                                                                          Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                  I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                         debtor the attached notice, as required by § 342(b) of the Bankruptcy Code




                                                                                          Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                          Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                             number of the officer, principal, responsible person,
                                                                                                                                                                             or partner of the bankruptcy petition preparer.)
                                                                                                                                                                             (Required by 11 U.S.C. § 110.)
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                                                                                          X
                                                                                          Signature of Bankruptcy Petition Preparer or officer,
                                                                                          Principal, responsible person, or partner whose Social
                                                                                          Security number is provided above.




                                                                                                                                                   Certification of the Debtor
                                                                                                   I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                         Code

                                                                                           Lovely T. Meah                                                                    X   /s/ Lovely T. Meah
                                                                                          Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                          Case No. (if known)                                                                X
                                                                                                                                                                                 Signature of Joint Debtor, (if any)           Date




                                                                                          Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                          Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                          NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                          the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                          petition preparers on page 3 of Form B1 also include this certification.
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          CITIBANK, N.A.
          c/o Forester & Garbus LLP
          60 Vanderbilt Motor Parkway
          Commack, NY 11725


          CITIMORTGAGE INC
          PO BOX 9438
          GAITHERSBURG, MD 20898


          Forster & Garbus LLP
          60 Vanderbilt Motor Parkway
          Commack, NY 11725


          HSBC BANK
          PO BOX 5253
          CAROL STREAM, IL 60197


          HSBC BANK
          PO BOX 5253
          CAROL STREAM, IL 60197


          MCYDSNB
          9111 DUKE BLVD
          MASON, OH 45040


          Parkchester South Condominium
          c/o Parkchester Preservation Mgmt LLC
          200 East Tremont Avenue
          Bronx, NY 10462-5796
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                                                                                        12/94
                                                                                                                                   United States Bankruptcy Court
                                                                                                                                                   Southern District of New York
                                                                                                In re Lovely T. Meah                                                                    Case No. ____________________
                                                                                                                                                                                        Chapter           7
                                                                                                                                                                                                     ____________________
                                                                                                Debtor(s)
                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                        1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                             2,250.00
                                                                                                For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                 2,250.00
                                                                                                Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                0.00
                                                                                                Balance Due ......................................……………………………………….................... $ ______________

                                                                                        2.      The source of compensation paid to me was:

                                                                                                                  Debtor                  Other (specify)
                                                                                        3.      The source of compensation to be paid to me is:
                                                                                                                  Debtor                  Other (specify)

                                                                                        4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                        associates of my law firm.

                                                                                                   I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                        of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                        5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
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                                                                                                 a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                 b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                 c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                                                 d.   [Other provisions as needed]
                                                                                         Fee includes court fees, classes, credit report and desktop appriasals.




                                                                                         6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                         Representation in adversary and contested matters.




                                                                                                                                                                  CERTIFICATION

                                                                                                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                      debtor(s) in the bankruptcy proceeding.


                                                                                                      ____________________________________                                 /s/ SALVATORE J. LIGA, ESQ.
                                                                                                                                                                         __________________________________________________
                                                                                                                     Date                                                                 Signature of Attorney

                                                                                                                                                                           The Liga Law Group, P.C.
                                                                                                                                                                         __________________________________________________
                                                                                                                                                                                          Name of law firm
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                                                                                                                                                         According to the information required to be entered on this statement
                                                                                                                                                         (check one box as directed in Part I, III, or VI of this statement):
                                                                                         In re Lovely T. Meah                                                          The presumption arises.
                                                                                                                  Debtor(s)                                            The presumption does not arise.
                                                                                                                                                                       The presumption is temporarily inapplicable.
                                                                                         Case Number:
                                                                                                                  (If known)

                                                                                                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                             AND MEANS-TEST CALCULATION
                                                                                        In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
                                                                                        in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
                                                                                        complete separate statements if they believe this is required by §707(b)(2)(C).

                                                                                                                              Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                                                Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
                                                                                                beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
                                                                                                complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                        1A
                                                                                                    Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
                                                                                                veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
                                                                                                active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
                                                                                                U.S.C. §901(1)).

                                                                                                Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
                                                                                                verification in Part VIII. Do not complete any of the remaining parts of this statement.
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                                                                                        1B
                                                                                                    Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
                                                                                                your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
                                                                                                case before your exclusion period ends.

                                                                                                    Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                                        1C      below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                component of the Armed Forces or the National Guard

                                                                                                                 a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                   I remain on active duty /or/
                                                                                                                                   I was released from active duty on ________________, which is less than 540 days before
                                                                                                                 this bankruptcy case was filed;
                                                                                                                          OR

                                                                                                                 b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                         I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                 _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

                                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                              a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                              b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                   penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                                   are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                   Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                        2     c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                   Column A (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                                              d.   Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                   for Lines 3-11.

                                                                                               All figures must reflect average monthly income received from all sources, derived during
                                                                                               the six calendar months prior to filing the bankruptcy case, ending on the last day of the          Column A       Column B
                                                                                               month before the filing. If the amount of monthly income varied during the six months, you          Debtor’s       Spouse’s
                                                                                               must divide the six-month total by six, and enter the result on the appropriate line.                Income         Income
                                                                                         3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $ 1,108.00     $       N.A.
                                                                                               Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                               and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
                                                                                               business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                               Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                         4     entered on Line b as a deduction in Part V.
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                                                                                                  a.      Gross receipts                                     $                       0.00
                                                                                                  b.      Ordinary and necessary business expenses           $                       0.00
                                                                                                  c.      Business income                                    Subtract Line b from Line a       $       0.00   $       N.A.
                                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference
                                                                                              in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
                                                                                              any part of the operating expenses entered on Line b as a deduction in Part V.
                                                                                         5        a.      Gross receipts                                     $                       0.00
                                                                                                  b.      Ordinary and necessary operating expenses          $                       0.00
                                                                                                  c.      Rent and other real property income                Subtract Line b from Line a       $              $
                                                                                                                                                                                                       0.00           N.A.
                                                                                         6    Interest, dividends and royalties.                                                               $       0.00   $       N.A.
                                                                                         7    Pension and retirement income.                                                                   $       0.00   $       N.A.
                                                                                              Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                              expenses of the debtor or the debtor’s dependents, including child support paid for that
                                                                                         8    purpose. Do not include alimony or separate maintenance payments or amounts paid by
                                                                                              your spouse if Column B is completed. Each regular payment should be reported in only one
                                                                                              column; If a payment is listged in Column A, do not report that payment in Column B.             $       0.00   $       N.A.
                                                                                              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                              However, if you contend that unemployment compensation received by you or your spouse
                                                                                              was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                        9
                                                                                              Column A or B, but instead state the amount in the space below:
                                                                                               Unemployment compensation claimed to be
                                                                                               a benefit under the Social Security Act         Debtor $       0.00     Spouse $   N.A.         $              $
                                                                                                                                                                                                       0.00           N.A.
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                                                                                              Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                              sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                              paid by your spouse if Column B is completed, but include all other payments of
                                                                                              alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                        10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                              victim of international or domestic terrorism.
                                                                                                 a. Estranged Husband Support                                             $     1,650.00
                                                                                                 b.                                                                       $          0.00
                                                                                                 Total and enter on Line 10                                                                      $ 1,650.00 $             N.A.
                                                                                              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                                        11    and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).             $ 2,758.00 $             N.A.
                                                                                              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                        12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                              completed, enter the amount from Line 11, Column A.                                                                   2,758.00
                                                                                                                                                                                                  $
                                                                                                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                        13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                                                                                                                                                                $ 33,096.00
                                                                                               12 and enter the result.
                                                                                               Applicable median family income. Enter the median family income for the applicable state and household
                                                                                        14     size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
                                                                                               bankruptcy court.)

                                                                                                                                      NewYork
                                                                                               a. Enter debtor’s state of residence: _______________                                       3
                                                                                                                                                     b. Enter debtor’s household size: __________               $ 69,066.00
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                                                                                               Application of Section 707(b)(7). Check the applicable box and proceed as directed.

                                                                                        15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does not
                                                                                                     arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                                                                                                     The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.


                                                                                                          Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                                          Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

                                                                                        16     Enter the amount from Line 12.                                                                                   $         N.A.

                                                                                               Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                                               Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                                               debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                                               payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
                                                                                               dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
                                                                                               a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                        17

                                                                                                a.                                                                         $
                                                                                                b.                                                                         $
                                                                                                c.                                                                         $

                                                                                              Total and enter on Line 17.                                                                                       $         N.A.

                                                                                        18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                       $         N.A.
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                                                                                                                      Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                              Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                                               National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                                               National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
                                                                                        19A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
                                                                                               number of person is the number that would currently be allowed as exemptions on your federal income tax
                                                                                               return, plus the number of any additional dependents whom you support.                                            $   N.A.

                                                                                               National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                               of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                                               Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                               www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                               persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                               years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                               that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                        19B    additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                               under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons
                                                                                               65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                               enter the result in Line 19B.

                                                                                                Persons under 65 years of age                           Persons 65 years of age or older
                                                                                                 a1.      Allowance per person                  N.A.    a2.    Allowance per person             N.A.
                                                                                                 b1.      Number of persons                      N.A.   b2.    Number of persons
                                                                                                                                                                                                                 $
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                                                                                                 c1.      Subtotal                              N.A.    c2.    Subtotal                         N.A.
                                                                                                                                                                                                                     N.A.
                                                                                              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                                            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                        20A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable family size
                                                                                            consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                            the number of any additional dependents whom you support.                                                            $   N.A.

                                                                                               Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
                                                                                               Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                                               information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
                                                                                               family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                                               tax return, plus the number of any additional dependents whom you support); enter on Line b the total of the
                                                                                        20B    Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
                                                                                               Line a and enter the result in Line 20B. Do not enter an amount less than zero.


                                                                                                a.     IRS Housing and Utilities Standards; mortgage/rental expense        $                        N.A.
                                                                                                b.     Average Monthly Payment for any debts secured by your
                                                                                                       home, if any, as stated in Line 42                                   $                       N.A.
                                                                                                c.     Net mortgage/rental expense                                         Subtract Line b from Line a               N.A.
                                                                                                                                                                                                                 $

                                                                                               Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                                               20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                               Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                               your contention in the space below:
                                                                                        21

                                                                                                                                                                                                                     N.A.
                                                                                                                                                                                                                 $
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                                                                                              Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                                              an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                              regardless of whether you use public transportation.
                                                                                              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                              are included as a contribution to your household expenses in Line 8.
                                                                                        22A          0    1    2 or more.
                                                                                              If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                              Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                              Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                              Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                              the bankruptcy court.)                                                                                          $   N.A.

                                                                                            Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                            expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                        22B additional deduction for your public transportation expenses, enter on Line 22B the "Public Transportation"
                                                                                            amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
                                                                                                                                                                                                              $   N.A.
                                                                                            the clerk of the bankruptcy court.)
                                                                                            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                            which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                            two vehicles.)
                                                                                                1         2 or more.
                                                                                            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                            Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                                         23 Line a and enter the result in Line 23. Do not enter an amount less than zero.
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                                                                                                a.       IRS Transportation Standards, Ownership Costs                      $                       N.A.
                                                                                                         Average Monthly Payment for any debts secured by Vehicle 1,        $
                                                                                                b.       as stated in Line 42                                                                       N.A.
                                                                                                c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.      $   N.A.
                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                              only if you checked the “2 or more” Box in Line 23.
                                                                                              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                              Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
                                                                                              Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                        24      a.     IRS Transportation Standards, Ownership Costs                      $                        N.A.
                                                                                                         Average Monthly Payment for any debts secured by Vehicle 2,        $
                                                                                               b.        as stated in Line 42                                                                       N.A.
                                                                                               c.        Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.       $   N.A.
                                                                                              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                                        25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                              taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                    $   N.A.

                                                                                              Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                         26   payroll deductions that are required for your employment, such as retirement contributions, union dues, and     $
                                                                                              uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                        N.A.
                                                                                              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                        27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
                                                                                              life or for any other form of insurance.                                                                    $       N.A.
                                                                                              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                                              required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                                         28                                                                                                               $       N.A.
                                                                                              payments. Do not include payments on past due obligations included in Line 44.
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                                                                                              Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                        29    Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                                              employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                                                                                                                        $         N.A.
                                                                                              whom no public education providing similar services is available.
                                                                                              Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                        30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other                           $
                                                                                              educational payments.                                                                                                               N.A.
                                                                                              Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                        31    on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                                              reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                                              Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                      $         N.A.
                                                                                              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                              actually pay for telecommunication services other than your basic home telephone and cell phone service—
                                                                                        32    such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                              your health and welfare or that of your dependents. Do not include any amount previously deducted.                        $         N.A.

                                                                                        33      Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                                      $         N.A.

                                                                                                                                Subpart B: Additional Living Expense Deductions
                                                                                                                       Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                              Health Insurance, Disability Insurance and Health Savings Account Expenses. List the monthly
                                                                                              expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
                                                                                              or your dependents.
                                                                                                  a.     Health Insurance                                                    $                      N.A.
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                                                                                                  b.      Disability Insurance                                                    $                        N.A.
                                                                                                  c.      Health Savings Account                                                  $                        N.A.
                                                                                        34
                                                                                              Total and enter on Line 34.                                                                                                $        N.A.
                                                                                              If you do not actually expend this total amount, state your actual average expenditures in the space
                                                                                              below:
                                                                                                  $          N.A.

                                                                                              Continued contributions to the care of household or family members. Enter the total average actual
                                                                                        35    monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                              elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                                                                                                                                        $         N.A.
                                                                                              unable to pay for such expenses.
                                                                                              Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                                              you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                                        36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                                                                                                                                                        $         N.A.
                                                                                              confidential by the court.
                                                                                              Home energy costs Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                                        37    Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                              provide your case trustee with documentation of your actual expenses, and you must demonstrate that                                 N.A.
                                                                                                                                                                                                                        $
                                                                                              the additional amount claimed is reasonable and necessary.
                                                                                              Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                              expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                        38    elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                              your case trustee with documentation of your actual expenses and you must explain why the amount                          $         N.A.
                                                                                              claimed is reasonable and necessary and not already accounted for in the IRS Standards.
                                                                                        *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                              Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                              clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                        39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                              additional amount claimed is reasonable and necessary.                                                          $   N.A.

                                                                                              Continued charitable contributions. Enter the amount that you will continue to contribute in the form
                                                                                        40
                                                                                              of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170 (c)(1)-(2)          $   N.A.

                                                                                        41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.
                                                                                                                                                                                                              $   N.A.

                                                                                                                                 Subpart C: Deductions for Debt Payment

                                                                                              Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                              you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
                                                                                              Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
                                                                                              total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                              filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
                                                                                              the total Average Monthly payments on Line 42.

                                                                                        42                                                                                   Average
                                                                                                          Name of                       Property Securing the Debt                          Does payment
                                                                                                                                                                             Monthly
                                                                                                          Creditor                                                                         include taxes or
                                                                                                                                                                             Payment
                                                                                                                                                                                              insurance?
                                                                                               a.                                                                        $                       yes no
                                                                                               b.                                                                        $
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                                                                                                                                                                                                yes     no
                                                                                               c.                                                                         $                     yes     no
                                                                                                                                                                        Total: Add Lines
                                                                                                                                                                        a, b and c                            $   N.A.

                                                                                              Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
                                                                                              residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                                              you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
                                                                                              in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
                                                                                              amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
                                                                                              List and total any such amounts in the following chart. If necessary, list additional entries on a separate
                                                                                              page.
                                                                                        43                Name of                          Property Securing the Debt        1/60th of the Cure Amount
                                                                                                          Creditor
                                                                                               a.                                                                            $
                                                                                               b.                                                                            $
                                                                                               c.                                                                            $
                                                                                                                                                                                                              $   N.A.

                                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
                                                                                        44   as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
                                                                                             filing. Do not include current obligations, such as those set out in Line 28.                                $       N.A.
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                                                                                               Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
                                                                                               following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
                                                                                               expense.
                                                                                                a.        Projected average monthly Chapter 13 plan payment.                             $             N.A.
                                                                                                          Current multiplier for your district as determined under schedules issued
                                                                                                b.        by the Executive Office for United States Trustees. (This information is
                                                                                         45
                                                                                                          available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy            x              N.A.
                                                                                                          court.)
                                                                                                c.        Average monthly administrative expense of Chapter 13 case                      Total: Multiply Lines
                                                                                                                                                                                         a and b                      $           N.A.
                                                                                        46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $           N.A.
                                                                                                                                    Subpart D: Total Deductions from Income
                                                                                        47 Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                $           N.A.
                                                                                                                      Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                        48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $           N.A.
                                                                                        49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $           N.A.
                                                                                        50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $           N.A.
                                                                                           60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                                        51 enter the result.
                                                                                                                                                                                                                      $           N.A.
                                                                                              Initial presumption determination. Check the applicable box and proceed as directed.
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                                                                                                  The amount on Line 51 is less than $7,075*. Check the box for “The presumption does not arise” at the top of page 1
                                                                                                  of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                                        52        The amount set forth on Line 51 is more than $11,725*. Check the “Presumption arises” box at the top of
                                                                                                  page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                  the remainder of Part VI.
                                                                                                  The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines
                                                                                                  53 through 55).
                                                                                        53    Enter the amount of your total non-priority unsecured debt                                                              $           N.A.

                                                                                         54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $                  N.A.
                                                                                            Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                               The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the
                                                                                               top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                         55    The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                               arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                               VII.

                                                                                                                                Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                              and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                              under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                              monthly expense for each item. Total the expenses.
                                                                                                                                  Expense Description                                                    Monthly Amount
                                                                                         56          a.                                                                                            $                N.A.
                                                                                                     b.                                                                                            $                      N.A.
                                                                                                     c.                                                                                            $                      N.A.
                                                                                                                                                     Total: Add Lines a, b and c                                          N.A.
                                                                                        *Amounts are subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                          Part VIII: VERIFICATION
                                                                                              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                              both debtors must sign.)
                                                                                                   Date:                                      Signature:         /s/ Lovely T. Meah
                                                                                                                                                                     (Debtor)
                                                                                        57
                                                                                                   Date:                                       Signature:
                                                                                                                                                                    (Joint Debtor, if any)
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                                                                                                                                 Form 22 Continuation Sheet
                                                                                        Income Month 1                                             Income Month 2


                                                                                        Gross wages, salary, tips...           1,108.00     0.00   Gross wages, salary, tips...           1,108.00     0.00
                                                                                        Income from business...                    0.00     0.00   Income from business...                    0.00     0.00
                                                                                        Rents and real property income...          0.00     0.00   Rents and real property income...          0.00     0.00
                                                                                        Interest, dividends...                     0.00     0.00   Interest, dividends...                     0.00     0.00
                                                                                        Pension, retirement...                     0.00     0.00   Pension, retirement...                     0.00     0.00
                                                                                        Contributions to HH Exp...                 0.00     0.00   Contributions to HH Exp...                 0.00     0.00
                                                                                        Unemployment...                            0.00     0.00   Unemployment...                            0.00     0.00
                                                                                        Other Income...                        1,650.00     0.00   Other Income...                        1,650.00     0.00


                                                                                        Income Month 3                                             Income Month 4


                                                                                        Gross wages, salary, tips...           1,108.00     0.00   Gross wages, salary, tips...           1,108.00     0.00
                                                                                        Income from business...                    0.00     0.00   Income from business...                    0.00     0.00
                                                                                        Rents and real property income...          0.00     0.00   Rents and real property income...          0.00     0.00
                                                                                        Interest, dividends...                     0.00     0.00   Interest, dividends...                     0.00     0.00
                                                                                        Pension, retirement...                     0.00     0.00   Pension, retirement...                     0.00     0.00
                                                                                        Contributions to HH Exp...                 0.00     0.00   Contributions to HH Exp...                 0.00     0.00
                                                                                        Unemployment...                            0.00     0.00   Unemployment...                            0.00     0.00
                                                                                        Other Income...                        1,650.00     0.00   Other Income...                        1,650.00     0.00


                                                                                        Income Month 5                                             Income Month 6
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                                                                                        Gross wages, salary, tips...           1,108.00     0.00   Gross wages, salary, tips...           1,108.00     0.00
                                                                                        Income from business...                    0.00     0.00   Income from business...                    0.00     0.00
                                                                                        Rents and real property income...          0.00     0.00   Rents and real property income...          0.00     0.00
                                                                                        Interest, dividends...                     0.00     0.00   Interest, dividends...                     0.00     0.00
                                                                                        Pension, retirement...                     0.00     0.00   Pension, retirement...                     0.00     0.00
                                                                                        Contributions to HH Exp...                 0.00     0.00   Contributions to HH Exp...                 0.00     0.00
                                                                                        Unemployment...                            0.00     0.00   Unemployment...                            0.00     0.00
                                                                                        Other Income...                        1,650.00     0.00   Other Income...                        1,650.00     0.00



                                                                                                                             Additional Items as Designated, if any




                                                                                                                                           Remarks
